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UNITED STATES DISTRICT COURT
DISTRICT OF MONTANA
MISSOULA DIVISION

BNSF RAILWAY COMPANY, on CV 19-40-M-DLC.
behalf of THE UNITED STATES OF
AMERICA, ORDER

Plaintiff,

VS.

THE CENTER FOR ASBESTOS
RELATED DISEASE, INC.,

Defendant.

 

 

IT IS HEREBY ORDERED that the Clerk of Court may provide meals for the
jurors during their deliberations in the above entitled case.

DATED this 26 tay of June, 2023.

 
   

Honorable Dana L. Christensen
United States District Judge
